            Case 2:11-cr-00134-WBS Document 164 Filed 08/29/13 Page 1 of 1


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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                 CASE NO. CR S 2:11-0134 JAM

12                              Plaintiff,     ORDER GRANTING GOVERNMENT’S MOTION
                                               TO DISMISS INDICTMENT
13                        v.

14   JAVIER LARA-LOPEZ,

15                              Defendant.

16

17                                              ORDER

18         For the reasons set forth in the motion to dismiss filed by the

19 United States, IT IS HEREBY ORDERED that:

20         The indictment in Case No. 2:11-cr-0134 JAM as to defendant

21 JAVIER LARA-LOPEZ is hereby DISMISSED without prejudice pursuant to

22 Federal Rule of Criminal Procedure 48(a).

23

24         DATED:     8/28/2013

25                                              /s/ John A. Mendez________________

26                                              UNITED STATES DISTRICT COURT JUDGE

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